                                  United States District Court,
                                      District of Columbia


David Alan Carmichael, et al.                       )
                                                    )
       Plaintiffs                                   )
                                                    )   Case No: 19-CV-2316-RC
               v.                                   )
                                                    )   Re: ECF 92, 95
Antony John Blinken, in his Offiicial               )
       capacity as Secretary of State, et al.,      )
                                                    )
       Defendants                                   )




 PLAINTIFF LEWIS’S REPLY TO DEFENDANTS’ RESPONSE IN OPPOSITION TO
     PLAINTIFFS’ MOTION TO COMPEL, AS DEFENDANTS’ RESPONSE IS
             EMBEDDED IN THEIR MOTION FOR DISMISSAL
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                                  United States District Court,
                                      District of Columbia


David Alan Carmichael, et al.                        )
                                                     )
       Plaintiffs                                    )
                                                     )   Case No: 19-CV-2316-RC
               v.                                    )   Re: ECF 84
                                                     )
Antony John Blinken, in his Offiicial                )
       capacity as Secretary of State, et al.,       )
                                                     )
       Defendants                                    )


 PLAINTIFF LEWIS’S REPLY TO DEFENDANTS’ RESPONSE IN OPPOSITION TO
     PLAINTIFFS’ MOTION TO COMPEL, AS DEFENDANTS’ RESPONSE IS
             EMBEDDED IN THEIR MOTION FOR DISMISSAL

                        I. History of The Plaintiff’s Motion To Compel

      1.    Plaintiffs Lewis and Pakosz, on April 23, 2021, moved the Court to compel the

Defendant to issue renewed passports to plaintiffs Lawrence Donald Lewis and William Mitchell

Pakosz in accordance with the applications which are the subject of this litigation (ECF 84). The

Plaintiffs pled for this relief in the amended complaints (ECFs 15, 51, pp. 2, 4, 59-62). The

Court has power to grant the relief either by mandamus or injunction pursuant to the all writs act,

28 U.S.C. § 1651, or 28 U.S.C. § 1361, or under the relief powers of the Administrative

Procedures Act, 5 U.S.C. § 706, inter alia.

       “Where multiple causes of action are alleged, plaintiff need only show likelihood of
       success on one claim to justify injunctive relief.” Kirwa v. United States Department of
       Defense, 285 F.Supp.3d 21 citing McNeil-PPC, Inc. v. Granutec, Inc., 919 F. Supp. 198,
       201 (E.D.N.C. 1995); see also Cuomo v. U.S. Nuclear Regulatory Comm’n, 772 F.2d
       972, 974 (D.C. Cir. 1985).

      2.    The Court ordered the deadline for the Defendants’ to respond, to the motion to

compel, by July 2, 2021 (Minute Order May 7, 2021). The Defendants did not forthrightly




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respond by way of a document naming itself as a response to the motion to compel. The

Defendants on July 2, 2021, filed a motion for dismissal (ECF 99). With that motion for

dismissal, the Defendants filed a memorandum in support, a statement of facts, a declaration by

Kristia N. Watkins, an Exhibit containing letters sent from the agency to Plaintiffs Lewis and

Pakosz, and a proposed order (ECF 99-1 through 99-5). This is a reply to those things in the

Defendants’ motion which reach the motion to compel as if those portions constitute a

“response” to our motion to compel. The combined response to the Defendants motion to

dismiss is forthcoming, due no later than August 20, 2021 (Fox/Neal Order, ECF 100).

      II.    Erroneous Theory In Defendants’ Motion To Dismiss Is No Bar To Grant
               of Plaintiffs’ Motion To Compel Issuance of Passport Renewals

      3.    The dismissal motion of the Defendants rests totally, or primarily, on an erroneous

theory that the activities of the Defendants, their legal team in the U.S. Attorney’s office, and

“the Department” during the period between the minute orders of January 19 and April 19, 2021,

usurp the legal action of the Plaintiffs as filed in their amended complaints and supporting

exhibits. That erroneous theory is addressed separately in the forthcoming combined response to

the Defendants motion for dismissal or summary judgment but is relevant here so far as it

reaches what appears to be part of a response to our motion to compel. The context of the factual

allegations in the exhibits of the Defendants’ motion to dismiss address our motion to compel

(ECF 99-2,3,4). Those Defendants’ exhibits actually support our motion to compel the

Defendants to issue the passport renewals.

       III. Defendants’ Concessions To The Validity of Documents At The Time of
       Application, And Written Policy References, Endorse The Grant of Plaintiffs’
                     Motion To Compel Issuance of Passport Renewals

      4.    The Defendants’ response, particular to our motion, rests on the proposition that a

new photograph is somehow necessary to process the actual Form DS-82 applications for



                                                                                           p. 2 of 13
passport renewal that are the subject of this action. The Plaintiffs have made the claim and have

shown, that the photographs submitted with their renewal applications, affirming under oath as

being current at the time of application, were suitable and complied with the requirements of law

and regulation (ECF 51, p. 7, ¶ 21., p. 14. ¶ 42 for Lewis; Id. p. 27, ¶ 85. & ECF 53, p. 27 of 112

for Pakosz). The Defendants never refuted that the photographs provided with the applications

were suitable according to law, regulation and their written policy, though they’ve have many

opportunities (Plaint. Complaints ECFs 1, 15, 51; Plaint. Notice and Demand, ECFs 53, 56, 57).

The Defendants have, therefore, conceded that those photographs were suitable and lawful at the

time of the passport renewal applications.

      5.     The U.S. Attorney alleged that “the Department” (Defendants) sent an invitation to

provide new DS-82 forms and new photographs (ECF 80, ¶3.). The supposed “invitation” about

which the U.S. Attorney informed the Court ex parte, lovingly and passive-aggressively hinted-at

mandating the Plaintiffs to voluntarily provide a new Form DS-82 and a photograph. Such a

statement does not constitute evidence. There is no evidence of such an invitation ever being

sent by the Defendant in their ex-litigation autonomous status as an agency (“the Department”).

      6. The Watkins Declaration (ECF 99-3) only made a conclusive allegation that,

“Accordingly, the Department provided instructions on how Mr. Lewis and Mr. Pakosz could

receive a passport…” The only document shown from “the Department” is not, as Watkins

declared, an instruction on how to receive a passport in the context of the Plaintiffs’ Form DS-82

that is the subject of this litigation. The document which Watkins did not particularly reference,

but is assumed to be “the Department” letter submitted by the Defendant Attorney as Exhibit A,

is only an instruction about the requirements to apply for a passport in the future (Def. Exh A,

ECF 99-4).




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      7.    The Exhibit A, supplied by the Defendants (ECF 99-4), displays the confusion of the

Defendants that their Attorney passed to the Plaintiffs and to the Court. Director Miller said, “…

the Department determined that it would grant your religious accommodation request and invited

you to submit new passport photographs so that the Department could continue processing your

passport application.” That correspondence from “the Department” has no reference to any

actual correspondence from “the Department.” There is no definition of what an “invitation”

constitutes and whether such an invitation was mandatory or voluntary. Director Miller said,

“On March 5, 2021, the Department requested that you provide a new passport photograph taken

within the last six months.” There is no mention of an invitation to supply a new Form DS-82 as

alleged by the U.S. Attorney. Yet, not volunteering to produce a new Form DS-82 is apparently

not one of the bars to passport renewal issuance according to its absence in the text of Exhibit A.

It is arbitrarily and capriciously only a new photograph that is the new non-religious impediment

to the Plaintiffs passport renewal, notwithstanding that a “new” photograph is also not necessary

as a matter of fact and law just like the “invitation” Form DS-82. The Defendant certainly cites

no case law that indicates their whimsical request for a “new” photograph somehow supersedes

the provision for our supplying a legitimate photograph with the legitimate application.

      8.    Exhibit A goes on to say that providing a photograph is voluntary. “However, you

have refused to voluntarily provide a new passport photograph and the Department has not

received one from you.” (Emphasis added) Notwithstanding the yet-to-be-shown documentary

evidence of the invitation being voluntary, Director Miller acting as “the Department” says,

“Absent a new photograph, the Department cannot process your passport application at this time

and your application is therefore denied on this basis (Emphasis added).”

      9.    Let’s not forget, we did not ask the Defendants to process our applications “at this




                                                                                           p. 4 of 13
time.” Those applications were processed at the time of their being submitted, and were

unlawfully denied. Such renewal passport denial is subject to vacatur and the compelling of

issuance on the basis of what was put to the Defendants upon submission of the applications.

      10.    The Defendants’ action holding our passports hostage to an unnecessary “new”

photograph is not only contrary to the published policy they cite in the Exhibit A letter, 8 FAM

402.1 (See actual text ECF 84-8), it is not rational, reasonable, or fair; it is arbitrary and

capricious; and it perpetuates the Plaintiffs ex neat republica without due process and ultra vires.

      11. The passport renewal applications of the Plaintiffs from 2018 and 2019 are still on the

desk of the Defendants’, with all the required information due at time of application as required

by law and regulation (ECF 99-3, ¶ 3.). We are not in a situation of - new-application-filed-by-

the-Plaintiffs post-religious-accommodation. Otherwise, a new photograph, new Form DS-82,

and fee is required, though allegedly a SSN would not be required as a matter of religious

accommodation. Had there been a “new” application, Director Miller would have been right to

send correspondence asking for the photograph that is due at the time of “new” application. His

writing an absolute denial of a “new” application without a formal request for the information on

“the Department” letterhead, and without the requisite legitimate authority to request it, would be

a new violation of the Privacy Act and the Paperwork Reduction Act and would generate its own

agency appeal or litigation for relief.

       IV.    The Response’s Exhibit A Affirms The Accusation of Maladministration
                      Embedded In The Plaintiffs’ Motion To Compel

      12.    In our Plaintiffs’ Motion To Compel (ECF 84-1, ¶2.), we accused the Defendants of

arbitrarily, capriciously and falsely stating that submission of a new photograph is legally

necessary. Notwithstanding that we spelled out the actual quote of the reference cited by

Director Miller in our motion to compel, that contradicts that photographs must be current as



                                                                                                 p. 5 of 13
related to the passport “issue” date, the Defendants in their response expressly state that the

“issue” date is the measure. They cited but elusively did not quote the written policy that says

the currency reference is the “application” date. The Defendants willfully, intelligently, and not

merely negligently but recklessly, attempt to mislead the Plaintiffs and the Court that a passport

cannot be issued without a “new” photograph (Def. Exh. A):

     “Department records indicate you executed your passport application on June 13,
     2018, meaning the passport photograph you submitted with your application is no
     longer compliant with the Department’s requirement that passport photographs be
     taken within the six months preceding the issue date” (ECF 99-4, pp. 2, 3, 4, 5 of 5)

     13.    The policy document referenced by Defendants in their April 19, 2021, denial letter

and the Defendants constructive response (ECF 99-4 & 99-1) is the fatal flaw in their contention.

The publication actually quoted says, “(2) The photograph must be taken within the past six

months (ICAO 9303 Section 3.9), be a good likeness of and satisfactorily identify the

applicant at the time of the application (see 22 CFR 51.26).” (Plaintiff Exhibit, ECF 84-8, p.

2 of 2, last para.: “8 FAM 402.1-2 PASSPORT PHOTOGRAPHS REQUIREMENTS,

(CT:CITZ-14; 12-08-2018)”) (Emphasis added to accentuate the quote). The requirements cited

in that official policy document are joined by conjunctions – “past six months (comma) be a

good likeness of (and) satisfactorily identify the applicant…” The photographs must be all those

things, “… at the time of the application.” The correct requirement supports the Plaintiffs’

motion where the photographs that the Defendants have are current within six months of the

application, are suitable as a matter of “the Department’s” written policy and according to law.

      V.     The Defendants’ Report of Carmichael’s Passport Status Is Relevant And
                             Supports Our Motion To Compel

      14.   The Defendants’ memorandum said that the passport revocation of Carmichael’s

would be rescinded as the Defendants’ promised it would be if they ever concluded that they had




                                                                                           p. 6 of 13
no question about Carmichael’s identity and the accommodation of religion for him (ECF 66,

p.5, last full sentence). The Defendants’ later memorandum said that the revocation of

Carmichael’s renewed passport was rescinded (ECF 96, p. 6, ¶ 2 nd). Such a rescission would put

Plaintiff Carmichael in a different status than us and our need for a motion to compel the

approval of our passport renewal applications. In the Defendants’ response to our motion to

compel, they shift position by making no mention of Carmichael’s passport revocation being

“rescinded.” They make a comment about a different case discussing “rescission and

republication of challenged regulations regulation or policy” (ECF 99-1, p. 10, ¶ 1 st) but

carefully side-stepped what would highlight the consequences of their actually rescinding the

revocation of the Carmichael renewed passport. The Defendants’ actions issuing Carmichael a

“replacement” passport using the photograph that he sent to them in 2018 demonstrates the

frivolity of their claiming our 2018 and 2019 applications ought to be denied having photographs

newer than Carmichael’s.

     “During the remand period, Defendants granted Plaintiffs’ religious accommo-
     dations and issued a replacement passport to Carmichael on April 19, 2021, to
     replace the previously revoked passport issued on January 30, 2018. The
     replacement passport used the photo from the 2018 passport and is valid until the
     expiration date of the previous passport—January 29, 2028. Defendants also sent a
     letter to Lewis and Pakosz stating that their passport applications were denied for
     not providing a photograph taken within the prior six months. See Exhibit A (copies
     of the State Department’s letters issued to Lewis and Pakosz).” (Def. Mem. ECF
     99-1, p. 4, ¶ 2nd)

     15.    According to the statement of the Defendants, issuing a “replacement” passport

means that the revocation of Carmichael’s passport was not rescinded. If Carmichael’s passport

issued January 30, 2018, was “erroneously” issued and revoked because Carmichael did not

provide a SSN, that Form DS-82 passport renewal application is revitalized until such time as the

Defendants sent Carmichael a request for the missing information and he provide the missing




                                                                                          p. 7 of 13
SSN so that the Defendants could issue a passport non-erroneously. If the passport document on

file with the Court (ECF 101) is as the Defendants paint it to be - a result of the Defendants’ non-

erroneously issuing a passport in response to Carmichael’s renewal application Form DS-82 of

January 2018 using the photograph of January 2018 - the Court must order the Defendants’ to

likewise issue our non-erroneously issued passport renewals using the photograph filed with our

application. The Defendants are estopped from rejecting our photographs supplied with our

applications.

      VI. The Defendants’ Report of The Replacement Passport Using Carmichael’s
           Photo of January 2018 Is Relevant And Supports Our Motion To Compel

     16. The Defendants’ explanation of the validity date of the Carmichael “replacement

passport” also supports our motion to compel.

     “The replacement passport used the photo from the 2018 passport and is valid until the
     expiration date of the previous passport—January 29, 2028.” (Def. Mem. ECF 99-1, p. 4, ¶
     2nd – As quoted above)

     17.    Limiting the new “replacement passport” to the period of less than ten years from its

issue date of April 19, 2021 is consistent with the normal passport validity period of ten years

from the issue date pursuant to 22 C.F.R. 51.4(b), “unless the Department limits the validity

period to a shorter period.” (See Plaint. Mot. Attach. 7, ECF 84-9) Thereby, Carmichael’s

photograph age at the end of the passport validity does not exceed ten years plus the currency of

the photograph being within 6 months of the application date, though exceeding the issue date by

approximately three years three months and one day.

     18.    We’ve communicated no objection to the renewed passports having a validity period

to be not ten years from the issue date. We suggest here that they issue the renewal passports

validity to be ten years from the date of the first correspondence from the agency saying that it

was not yet approved for the want to a SSN; or from the application date as a minimum. That is



                                                                                          p. 8 of 13
consistent with what the Defendants say they did for Carmichael in the above quoted

memorandum paragraph.

   VII. The Defendants Offered No Material Facts Or Evidence In Dispute To Preclude
                           Denial of The Motion To Compel

     19.    The only fact offered by the Defendants in their July 2, 2021, response is that the

written policy that they go by to measure the currency of a passport application photograph is the

8 FAM 402.1-2 PASSPORT PHOTGRAPHS REQUIREMENTS (citing ECF 99-4, Exh A.).

Though that document of Director Miller does not qualify as evidence for a jury, the text of the

“8 FAM 402.1-2” shows that we are correct regarding the validity of the photographs already in

the possession of the Defendants. Notwithstanding there is a factual dispute as to whether the

guiding document text uses the word “issue” or “application”, the matter of whether the

reference for the photograph validity date is a matter of law. The word “application” is plainly

discernable in the guiding document.

     20.    As we have protested from the beginning of the frivolous delay tactic of the

Defendants’ threat of a remand motion, the Defendants already had everything they needed to

approve our passports from the time that they received our passport applications, fees,

photographs, and requests for religious accommodation. The duty of the Court is to discern

whether the Defendant had a ministerial duty to issue the renewed passports at the time of the

application based upon those things provided with the application.

     Finally, because it is a ministerial duty, certification of honorable service for purposes
     of immigration and naturalization is unlikely to be committed to DOD’s sole
     discretion or to be otherwise unreviewable. See, e.g., Norton v. S. Utah Wilderness
     All., 542 U.S. 55, 64 (2004) (referring to courts’ power to compel an agency to
     perform a ministerial act); Kitchen v. CSX Transp., Inc., 6 F.3d 727, 732 (11th Cir.
     1993) (“A ministerial act is one that is simple, absolute, and definite, arising under
     conditions admitted or proved to exist, and requiring merely the execution of a
     specific duty.”) (internal quotation marks omitted). Kirwa v. Pompeo D.D.C. 1:17-
     cv01793-PLF, Docket 29, p. 23; 285 F.Supp.3d 21



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           VIII. The Authority To Issue The Order To Compel Is 5 U.S.C. § 706, and/or 28
                            U.S.C. § 1651 and/or 28 U.S.C. § 1361

     21.     Since we do not have the sophistication of formal training in law as does the Court,

the Defendants, and their Attorney, we do not know whether the absence of the actual agency

record would preclude the Court from issuing an order in the nature of mandamus or injunction

to compel the issuing of our passports. It appears by the Rules of Court and the Administrative

Procedures Act laid out in 5 U.S.C. § 701-706 that it is mandated for the entire record of the

agency’s processing to be filed with the Court if it is acting in the capacity of an appeals court in

an agency action on review.

     As this Circuit has recognized, "in order to allow for meaningful judicial review, [an]
     agency must produce an administrative record that delineates the path by which it
     reached its decision." Farrell v. Tillerson, 315 F. Supp. 3d 47, 54 (D.D.C. 2018)
     citing Occidental Petroleum Corp. v. SEC, 873 F.2d 325, 339 (D.C. Cir. 1989).

     22.     Since the common law writ of mandamus is an extraordinary remedy of last resort,

and ought to be supported by clear and authentic evidence of fact and evidence of law, it does

not seem to the Plaintiffs that we can yet reach that threshold without discovery promised to us

in law and the court Rules. Notwithstanding the lack of formal investigation by discovery, and

the Court’s self-imposed inability to have a “meaningful review” of the administrative record,

there is enough before the Court to compel the Defendants to act pursuant to 5 U.S.C. § 706 or

the all writs act, 28 U.S.C. § 1651, or 28 U.S.C. § 1361:

     Courts are empowered to rectify agency action erroneously taken or to compel agency
     action erroneously withheld, and continuing agency authority to act independently is
     not a jurisdictional prerequisite to such relief. Harper v. Levi, C.A.D.C. 1975, 520
     F.2d 53, 171 U.S. App. D.C. 32

      The Court clearly has jurisdiction to review a claim of unreasonable delay of agency
     action. The Administrative Procedure Act requires an agency to act "within a
     reasonable time," 5 U.S.C. § 555(b), and authorizes a reviewing court to "compel
     agency action ... unreasonably delayed," § 5 U.S.C. 706(1). Whether petitioners have,



                                                                                          p. 10 of 13
     in fact, demonstrated unreasonable delay — and thus, a "clear right" to relief under
     the Mandamus Act — is intertwined with the merits inquiry, which the Court will
     thus consider through summary judgment based on the undisputed material facts, as
     discerned from the parties' briefs and exhibits. Liberty Fund, Inc. v. Chao, D.D.C.
     2005, 394 F.Supp.2d 105

            IX. Lack of An Administrative Record Before The Court Precludes
       Preemption of Our Motion Since Defendants’ Dismissal Motion Is Not Viable
                                     On Its Face

     23.    The Defendants’ pending disposing motion is on its face not viable since it cannot

dispose of our demand for declaratory judgment, and such declaratory judgment cannot be

adjudicated without the exposure of the administrative record as a minimum.

     "[I]t is black-letter administrative law that in an APA case, a reviewing court
     ‘should have before it neither more nor less information than did the agency
     when it made its decision.’" Hill Dermaceuticals, Inc. v. Food & Drug Admin. , 709
     F.3d 44, 47 (D.C. Cir. 2013) (quoting Walter O. Boswell Mem'l Hosp. v.
     Heckler , 749 F.2d 788, 792 (D.C. Cir. 1984) ). This is because, under the APA, the
     court is confined to reviewing "the whole record or those parts of it cited by a
     party," 5 U.S.C. § 706, and the administrative record only includes the "materials
     ‘compiled’ by the agency that were ‘before the agency at the time the decision was
     made,’" James Madison Ltd. by Hecht v. Ludwig , 82 F.3d 1085, 1095 (D.C. Cir.
     1996) (citations omitted). Grace v. Whitaker, 344 F.Supp3d 96 (D.D.C. 2018)
     (Emphasis added)

      24.   Their motion being pending is not a bar to this motion for immediate relief. The

Court not imposing the Rules upon the Defendant and discovery being barred to the Plaintiffs

demonstrates an unusual circumstance justifying departure from the general rule that would

require the administrative record to be on the Court’s desk. The Defendants make no opposition

to our motion to compel on the basis of the benefit they have secured of evading administrative

record exposure.

     Accordingly, when, as here, plaintiffs seek to place before the court additional
     materials that the agency did not review in making its decision, a court must exclude
     such material unless plaintiffs "can demonstrate unusual circumstances justifying
     departure from th[e] general rule." Am. Wildlands v. Kempthorne , 530 F.3d 991,
     1002 (D.C. Cir. 2008) (citation omitted). A court may appropriately consider extra-
     record materials: (1) if the agency "deliberately or negligently excluded documents



                                                                                      p. 11 of 13
     that may have been adverse to its decision," (2) if background information is needed
     to "determine whether the agency considered all of the relevant factors," or (3) if the
     agency "failed to explain [the] administrative action so as to frustrate judicial
     review." Id. Grace v. Whitaker, 344 F.Supp3d 96 (D.D.C. 2018)

                                             Summary

     25.    The Defendants have not sufficiently refuted the claims, evidence supplied, or

demands of our motion to compel the issuance of our properly and suitably filed Form DS-82

applications for renewal of our passports (ECF 84). In the Defendants’ response (ECF 99-1),

they cited though not quoted the written policy that reveals the photographs must be current to

within six months of the “application” date. We have shown that the passport renewal

photographs supplied with our applications fulfill all the requirements of the Code of Federal

Regulations and the other references cited by the Defendants that are subject to those regulations.

The Code of Federal Regulations provides for an adjustment of validity-time for the age of the

photos. It does not require a denial of application for the aging of the photograph that was

supplied in conformance with the regulations at the time of application. Refusal to provide a

new photograph is not only reasonable, it fulfills the law. Issuing a replacement passport for

Carmichael and denying renewals to us, who are under the same condition, is arbitrary and

capricious; an abuse of discretion; not in accordance with law; contrary to constitutional right,

power, privilege, or immunity; in excess of statutory jurisdiction, authority, or limitations, or

short of statutory right; without observance of procedure required by law; unsupported by

substantial evidence in a case subject to sections 556 and 557 of this title or otherwise reviewed

on the record of an agency hearing provided by statute; or unwarranted by the facts to the extent

that the facts are subject to trial de novo by the reviewing court.

     26.    The immediate relief that is so necessary to us must be accomplished on merely the

Pleadings, the sworn statements of the Plaintiffs, and what constitutes Defendant concessions of



                                                                                          p. 12 of 13
fact by memorandum which are all external to the administrative record since review of the

administrative record has been neglected. So be it. In consideration of the facts, the law, our

memorandum, our exhibits including sworn testament of our personal knowledge, and statements

of the Defendants that support our motion, this Plaintiffs’ motion to compel should be granted,

and the proposed order given, without a hearing. The Defendants in submissions to the “court”

record, show their behavior was not merely arbitrary and capricious, but contrary to law and

published policy. We are perpetually injured by the writ ne exeat republica that is unlawfully

imposed on us, to which a complete remedy is not available not withstanding the potential for

monetary damages relief. On the face of what’s been before the court, any further delay in the

approval of our passport renewal applications is a gross injustice and reprehensible.




s/Lawrence Donald Lewis                                Date : _____________________________
Lawrence Donald Lewis
966 Bourbon Lane
Nordman, Idaho 83848




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